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                                                                                                      E-FILED
                                                                      Wednesday, 21 July, 2021 11:21:02 AM
                                                                             Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD DIVISION

SHAYNE EMERY,                     )
                                  )
     Plaintiff,                   )
                                  )                   Case No. 3:20-cv-03226-SEM-TSH
v.                                )
                                  )                   Judge Sue E. Myerscough
ADVANCED MARKETING &              )
PROCESSING, INC. d/b/a PROTECT MY )                   Magistrate Judge Tom Schanzle-Haskins
CAR,                              )
                                  )
     Defendant.                   )


                          AGREED STIPULATION OF DISMISSAL

       The Plaintiff Shayne Emery, and Defendant Advanced Marketing & Processing, Inc.

d/b/a Protect My Car, by and through their respective attorneys, and pursuant to Fed. R. Civ. P.

41(a), hereby stipulate and agree to the dismissal with prejudice of Plaintiff Shayne Emery’s

claims against Advanced Marketing & Processing, Inc. Each Party shall bear their own

respective costs and attorneys’ fees. This Stipulation for Dismissal disposes of the entire action.



       RESPECTFULLY SUBMITTED,                                RESPECTFULLY SUBMITTED,

       SHAYNE EMERY                                           ADVANCED MARKETING &
                                                              PROCESSING, INC.

       /s/ David B. Levin                                     /s/ Jeffrey A. Backman
       Attorney for Plaintiff                                 Attorney for Defendant
       Illinois Bar No. 6212141                               Florida Bar No. 662501
       Law Offices of Todd M. Friedman, P.C.                  Greenspoon Marder LLP
       111 W. Jackson Blvd.                                   200 E. Broward Blvd.
       Suite 1700                                             Suite 1800
       Chicago, IL 60604                                      Ft. Lauderdale, FL 33301
       Phone: (224) 218-0882                                  Phone: (954) 491-1120
       dlevin@toddflaw.com                                    jeffrey.backman@gmlaw.com
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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on July 21, 2021, a copy of the foregoing Agreed Stipulation for

Dismissal was filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt.


                                                                /s/ David B. Levin
                                                                Attorney for Plaintiff




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